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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 In The Matter Of:                              )
                                                )
 Kurt William Rowland                           )   Case Number: 17-42723-705
                                                )
       Debtor                                   )
                                                )   Chapter 7
 PNC Bank, National Association, or its         )
 successors and assigns                         )
                                                )   Document Number: 15
       Movant,                                  )
                                                )
 vs.                                            )   ORDER
                                                )
 Kurt William Rowland                           )
                                                )
 and                                            )
                                                )
 Fredrich J. Cruse                              )
                                                )
       Trustee                                  )
                                                )
       Respondents                              )
                                                )


          COME NOW, the parties and agree to the following in the settlement of the

 Movant's Motion for Trustee Abandonment with Respect to Real Property:

          Upon consideration of the pleadings and the record as a whole, the Court finds

 and concludes that the Movant has a security interest in the following property:

                 ALL OF LOT 288 OF VILLAGE OF JEFFERSON PLAT NO.
                 2, A SUBDIVISION AS SHOWN BY PLAT ON FILE IN THE
                 RECORDER'S OFFICE OF JEFFERSON COUNTY,
                 MISSOURI, IN PLAT BOOK 61 PAGES 6 AND 7.

          The Court further finds and concludes that there is no equity in this property for

 the benefit of the bankruptcy estate and that the property is burdensome to the estate or

 is of inconsequential value and benefit to the estate. It is therefore,




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        ORDERED that the Trustee has abandoned the estate’s interest in the property,

 the property is deemed abandoned by the Trustee and is no longer an asset of the

 bankruptcy estate.

        IT IS FURTHER ORDERED that all further relief prayed for by Movant is hereby

 DENIED.




  DATED: June 20, 2018                                      CHARLES E. RENDLEN, III
  St. Louis, Missouri 63102                                   U.S. Bankruptcy Judge
  mtc




 Order Prepared and Submitted by:
 Millsap & Singer, LLC

 /s/ Stewart C. Bogart
 Cynthia M. Kern Woolverton, #47698, #47698MO
 William T. Holmes, II, #59759, #59759MO
 Stewart C. Bogart, #67956, #67956MO
 612 Spirit Drive
 St. Louis, MO 63005
 Telephone: (636) 537-0110
 Facsimile: (636) 537-0067
 bkty@msfirm.com
 Attorneys for PNC Bank, National Association


 /s/ Fredrich J. Cruse
 Fredrich J. Cruse
 The Cruse Law Firm PC
 Chapter 7 Trustee
 P.O. Box 914
 Hannibal, MO 63401-0914
 Telephone: (573) 221-1333
 Facsimile: (573) 221-1448
 fcruse@cruselaw.com




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 COPIES TO:

 Cynthia M. Kern Woolverton
 William T. Holmes, II
 Stewart C. Bogart
 Attorneys for Movant
 612 Spirit Drive
 St. Louis, MO 63005

 Kurt William Rowland
 1808 Dandridge Dr
 Barnhart, MO 63012

 TJ Mullin
 TJ Mullin PC
 Attorney for Debtor
 201 S. Central Ave. #103
 Clayton, MO 63105

 Fredrich J. Cruse
 The Cruse Law Firm PC
 Chapter 7 Trustee
 P.O. Box 914
 Hannibal, MO 63401-0914

 Office of the U.S. Trustee
 Thomas F. Eagleton U.S. Courthouse
 111 South 10th St., Suite 6353
 St. Louis, MO 63102

 All parties on the List of Creditors




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